

ORDER

PER CURIAM.
AND NOW, this 20th day of May, 2003, an Order and Rule to Show Cause having been entered by this Court on April 24, 2003, and no response thereto having been filed, it is hereby ORDERED that:
1. The Rule is made absolute and, pursuant to Rule 208(f), Pa.R.D.E., respondent is placed on temporary suspension until further definitive action by this Court;
2. Respondent shall comply with the provisions of Rule 217, Pa.R.D.E.;
3. The President Judge of the Court of Common Pleas of Bucks County, in accordance with Rule 217(g), Pa.R.D.E., shall take such further action and make such further orders as may be necessary to fully protect the rights and interests of respondent’s clients; and
4. Ml financial institutions in which respondent holds accounts containing fiduciary funds in Pennsylvania shall freeze such accounts pending further order of this Court.
This Order constitutes an imposition of public discipline within the meaning of Rule 402, Pa.R.D.E., pertaining to confidentiality.
